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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                   NO. 4:11CR00243-01-SWW

EDWARD EARL GRANT

                                               ORDER

       Defendant’s Motion for Two Point Reduction (Doc. No. 99) based on Amendment 782 is

DENIED.

       Guideline § 1.10(e)(1) reads: “The court shall not order a reduced term of imprisonment

based on Amendment 782 unless the effective date of the court’s order is November 1, 2015, or

later.” BOP records indicate that Defendant is scheduled for release from custody on or around

October 4, 2015, which is before the effective date of Amendment 782.

       However, if something changes and Defendant’s release date falls after November 1,

2015, he may refile his motion at that time.

       IT IS SO ORDERED this 22nd day of December, 2014.



                                                   /s/Susan Webber Wright
                                                   UNITED STATES DISTRICT JUDGE
